             Case 2:15-cv-00493-RDP Document 226 Filed 06/05/19 Page 1 of 22                                              FILED
                                                                                                                 2019 Jun-05 PM 04:16
                                                                                                                 U.S. DISTRICT COURT
                                                                                                                     N.D. OF ALABAMA


                             UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ALABAMA
                                  SOUTHERN DIVISION


HALI WOODS, et al.,                                        }
                                                           }
         Plaintiffs,                                       }
                                                           }
v.                                                         }     Case No.: 2:15-cv-00493-RDP
                                                           }
JUDICIAL CORRECTION SERVICES,                              }
INC., et al.,                                              }
                                                           }
         Defendants.                                       }


                                        MEMORANDUM OPINION

         This matter is before the court on the City of Columbiana’s (“Defendant” or “the City”)

Motion for Summary Judgment. (Doc. # 155). The Motion has been fully briefed. (Docs. # 156,

191, and 204). For the reasons discussed below, the Motion is due to be granted.

I.       The Rule 56 Evidence and the Undisputed Facts1

         In 2006, the City of Columbiana entered into a contract with Defendant Judicial

Correction Services, Inc. (“JCS”). (Doc. # 157). JCS was to provide probation services to the

Columbiana municipal court. (Id.). Municipal court Judge Mike Atchison first learned of JCS

from other municipalities that used its services. (Doc. # 160 at 24; Doc. # 58 at 38-40). Joanna

Seale, a municipal court magistrate and the court clerk, had also heard about JCS during

continuing education programs taken in connection with her magistrate position. (Doc. # 158 at

         1
             The facts set out in this opinion are gleaned from the parties’ submissions of facts claimed to be
undisputed, their respective responses to those submissions, and the court’s own examination of the evidentiary
record. These are the “facts” for summary judgment purposes only. They may not be the actual facts. See Cox v.
Adm'r U.S. Steel & Carnegie Pension Fund, 17 F.3d 1386, 1400 (11th Cir. 1994). The court is not required to
identify unreferenced evidence supporting a party’s position. As such, review is limited to exhibits and specific
portions of the exhibits specifically cited by the parties. See Chavez v. Sec’y, Fla. Dept. of Corr., 647 F.3d 1057,
1061 (11th Cir. 2011) (“[D]istrict court judges are not required to ferret out delectable facts buried in a massive
record . . . .”) (internal quotations omitted). The court views the facts in the light most favorable to the non-moving
party. Chavez v. Mercantil Commercebank, N.A., 701 F.3d 896, 899 (11th Cir. 2012).
        Case 2:15-cv-00493-RDP Document 226 Filed 06/05/19 Page 2 of 22



37). Seale called Susan Fuqua, a magistrate in Hoover, Alabama, to ask about that court’s

experience with JCS. (Id. at 38-40). The Columbiana municipal court explored this option in an

effort to save the court from having to hire another full time employee for the management of

probation services. (Id. at 37).

       JCS marketed itself as an offender-paid system which did not charge a municipality any

money for its services. (Doc. # 180-31 at 193). It claimed that: (1) it could provide an incentive

for probationers to pay their fines at a higher and faster rate, (2) its system increased partial

payment rates, and (3) under its system, partial payments averaged eighty to ninety percent of the

total fine. (Doc. # 193-2). Offenders placed on probation were generally ordered to pay JCS a

one-time $10 set-up fee and $35 for each month of probation. (See, e.g., Doc. # 168 at 16).

       A.      The Contract

       The JCS-Columbiana contract recites that it is between the City of Columbiana, the

City’s municipal court, and JCS. (Doc. # 157). Throughout the contract, the City and the court

are referred to separately. (Id. at 3) (“JCS [is] willing to provide these services to the City and

Court”; “the City and Court enter into this agreement with JCS.”). The contract did not place any

obligations on the municipal court. (See Doc. # 157). Under the contract, JCS agreed to

“supervise all probated cases sentenced by the Court” and “supervise indigent cases when

determined by the Court.” (Id. at 4). JCS agreed to “comply with the Court’s ruling in reference

to sentencing or possible revocation of probation” and that “[a]ny modification to the original

court sentence will be decided by the Court.” (Id. at 4-5). The contract was signed on behalf of

Columbiana by then-Mayor Allan Lowe, and on behalf of JCS by Kevin Egan, President of JCS

Alabama. (Doc. # 157).




                                                    2
        Case 2:15-cv-00493-RDP Document 226 Filed 06/05/19 Page 3 of 22



       On April 15, 2015, Columbiana Mayor Stancil Handley terminated the JCS contract.

(Doc. # 157-1 at 58).

       B.      Municipal Court Operations

       Columbiana’s municipal court generally held two monthly court sessions. (Doc. # 158 at

38, 55). However, a magistrate conducted bond hearings for all arrestees within forty-eight to

seventy-two hours. (Id. at 24-25). At the bond hearing, the magistrate discussed the charges, the

required bond, the defendant’s rights, and the potential need for an attorney to be appointed for

the defendant. (Id. at 27-28). The factors Magistrate Seale covered during the bond hearings are

listed on a standard form issued by the state. (Id.).

       Magistrate Seale also distributed form affidavits of substantial hardship in the municipal

court. (Id. at 96-99). She gave the forms to a defendant either at the bond hearing or when an

attorney was appointed. (Id. at 96-97). Judge Atchison was responsible for an investigation into a

person’s ability to pay, and this indigency review was to occur prior to any involvement by JCS.

(Docs. # 158 at 93-96, # 158-1 at 53, 74, 93-94). Generally, most defendants who submitted a

substantial hardship application had their fine waived and were not referred to JCS. (Doc. # 158

at 97). Occasionally, Judge Atchison referred a defendant who submitted the form to JCS, but

instructed JCS to waive its fees for that individual. (Doc. # 160 at 28-29). These indigency

determinations were made by Judge Atchison before any discussion regarding JCS probation.

(Doc. # 158 at 96).

       Judge Atchison maintained control in the municipal court. (Doc. # 160 at 19). In regards

to JCS’s work on probation matters, Judge Atchison testified that “JCS did what I [] ordered

them to do.” (Id.). Lisha Kidd, a JCS Probation Officer who worked with Childersburg,

Harpersville, and Columbiana, testified that JCS’s “number one goal was to always obey the



                                                        3
        Case 2:15-cv-00493-RDP Document 226 Filed 06/05/19 Page 4 of 22



orders of the Court.” (Doc. # 162 at 228). She further testified that JCS followed “a process that

[was] established by the Court.” (Doc. # 161 at 103). She noted that JCS “accepted everyone

placed on probation through a judge.” (Doc. # 162 at 228).

       Not everyone appearing in the municipal court was placed on probation; if the offender

could pay the fine within seven days, JCS was not involved and payments could be made

through Magistrate Seale’s office. (Doc. # 160 at 31, 59-60). Judge Atchison made that

determination. (Id.). If the offender was placed on probation with JCS, payments had to be made

through JCS. (Doc. # 158 at 126-27). Once all fines where paid, the probation ended. (Doc.

# 180-31 at 262).

       JCS kept the court informed regarding the status of probationers’ payments and

appointments with their Probation Officers. (Docs. # 66-7, # 66-1, # 66-12). Occasionally, when

offenders repeatedly failed to meet with JCS and/or make the required payments, JCS would

prepare a petition to revoke the probation informing the court of the missed appointments and/or

payments. (Docs. # 158 at 71-72, 88-89, # 168 at 26). Any warrants were executed by either

Judge Atchison or Magistrate Seale, but they issued pursuant to an order by Judge Atchison.

(Docs. # 158 at 109-10, # 158-1 at 180, # 160 at 31-32, # 183-28 at 15, # 168 at 17). City police

officers were involved in serving warrants, but “the warrant comes from the Court.” (Docs. # 160

at 67, # 164 at 52). According to Judge Atchison, “JCS never put people in jail.” (Doc. # 160 at

31-32). Judge Atchison testified that he “had complete control over that.” (Id.).

       Judge Atchison, Magistrate Seale, and other municipal court employees are paid by the

City, and their W-2s are issued by the City. (Docs. # 19 at & 3, # 160 at 51-52). The City paid

Judge Atchison out of funds collected by the municipal court. (Doc. # 160 at 51-52).




                                                     4
              Case 2:15-cv-00493-RDP Document 226 Filed 06/05/19 Page 5 of 22



          City officials do not determine the disposition of any case, including guilt or innocence,

fines, fees, or community service. (Docs. # 19 at & 3, # 160 at 51-52). The Mayor testified that

the Court was a department of the City. (Doc. # 193-3 at 29-30). However, Judge Atchison

testified that it was not (Doc. # 160 at 51) and that, as a municipal judge, he operated “under the

auspices of the Alabama Code and the Unified Judicial System.” (Doc. # 160 at 51). The

Eleventh Circuit recently held that probation procedure, indigency hearings, provision of

counsel, sentences, and work programs, are all judicial acts. McCullough v. Finley, 907 F.3d

1324, 1331 (11th Cir. 2018) (citing Owens v. Kelley, 681 F.2d 1362, 1370 (11th Cir. 1982)

(probation orders); Eggar v. City of Livingston, 40 F.3d 312, 315 (9th Cir. 1994) (duty to advise

indigent defendants of their rights); Davis v. Tarrant Cty., 565 F.3d 214, 223 (5th Cir. 2009)

(appointment of counsel); Harris v. Deveaux, 780 F.2d 911, 915 (11th Cir. 1986) (sentencing)).

          C.       Plaintiff Hali Woods

          On June 27, 2013, Woods was ticketed for failure to wear a seat belt while driving. (Doc.

# 165 at 1). Her fine and court costs totaled $41. (Id.). On August 13, 2013, Woods pleaded

guilty. (Id. at 3-4). The Explanation of Rights Plea of Guilty form she signed was Unified

Judicial System Form C-44B. (Id. at 3-4). Judge Atchison placed Woods on probation, and

ordered her to pay $51 per month until her financial obligations were met. (Id. at 5). Judge

Atchison’s Order of Probation also required Woods to pay JCS $35 for each month of probation

and a $10 registration fee. (Id.). In Judge Atchison’s August 13, 2013 Order of Probation, Woods

was ordered to return to court on November 12, 2013 to show “completion of compliance.”

(Id.).2




          2
          There is evidence that Judge Atchison signed the Orders of Probation in advance, and that the JCS
Probation Officer filled them out before they were signed by the offender. (Doc. # 158 at 99-100).

                                                        5
        Case 2:15-cv-00493-RDP Document 226 Filed 06/05/19 Page 6 of 22



       Consistent with the August 13, 2013 Order of Probation, on October 24, 2013, Magistrate

Seal signed a Summons to Appear requiring Woods to appear in the municipal court on

November 12, 2013. (Doc. # 165 at 6). The Summons to Appear form was a State of Alabama

Unified Judicial System Form MC-11D. (Id.). As of November 12, 2013, Woods had only paid

$20. (Id. at 7). Therefore, Judge Atchison signed another Order of Probation reinstating Woods

to probation, and requiring payment in full by January 22, 2014. (Id. at 8).

       On January 8, 2014, Magistrate Seal signed another Summons to Appear requiring

Woods to appear in the municipal court on January 28, 2014. (Id. at 9). The Summons to Appear

form was again a State of Alabama Unified Judicial System Form MC-11D. (Id.). The January

28, 2014 court date was rescheduled (Doc. # 156 at 14 n.4), so on February 10, 2014, Magistrate

Seal signed another Summons to Appear requiring Woods to appear in the municipal court on

February 25, 2014. (Doc. # 165 at 9). The Summons to Appear form was again a State of

Alabama Unified Judicial System Form MC-11D. (Id.). On February 25, 2014, Woods presented

an Affidavit of Substantial Hardship on State of Alabama Unified Judicial System Form C-10.

(Id. at 13-14). The Affidavit was marked “not approved.” (Id.).

       On April 22, 2014, less than one year after she was ticketed, Judge Atchison signed a

Successful Termination of Probation form for Woods. (Id. at 17). Woods was never arrested

related to the June 2013 offense, nor was a warrant for her arrest ever issued. (See Doc. # 165).

       D.      Plaintiff Susan Douglas

       On January 14, 2012, Douglas was cited for driving while her license was suspended, a

misdemeanor (Case No. TR 12-18), and for operating a vehicle without insurance, another

misdemeanor (Case No. TR 12-19). (Docs. # 165 at 19-40, # 165-1 at 2). The fine and court

costs for these citations were $390 and $340, respectively. (Id.). All fines and costs associated



                                                     6
        Case 2:15-cv-00493-RDP Document 226 Filed 06/05/19 Page 7 of 22



with these cases were paid and satisfied on or before March 15, 2013, more than two years

before Plaintiffs filed their initial Complaint. (Docs. # 165 at 19-40, # 165-1 at 21, # 166 at 1; see

also Doc. # 1). Judge Atchison signed notices of Successful Termination of Probation in both

cases on April 9, 2013. (Doc. # 165-1 at 23).

       On February 28, 2013, Douglas was cited for driving while her license was revoked, a

misdemeanor (Case No. TR 13-95). (Doc. # 167 at 2). The fine and court costs totaled $416. (Id.

at 5). On April 9, 2013, Douglas pleaded guilty. (Id. at 3-4). The Explanation of Rights Plea of

Guilty form she signed was Unified Judicial System Form C-44B. (Id.). Judge Atchison placed

Douglas on probation and ordered her to pay $110 per month until her financial obligations were

met. (Id. at 5). Judge Atchison’s Order of Probation also required Douglas to pay JCS $35 for

each month of probation and a $10 registration fee. (Id.). In Judge Atchison’s April 9, 2013

Order of Probation, Douglas was ordered to return to court on July 9, 2013 to show “completion

of compliance.” (Id.).

       On April 10, 2013, the day following her initial appearance in Case No. TR-13-95,

Douglas was arrested for attempting to elude a police officer, a misdemeanor (Case. No. WA 13-

38). (Doc. # 168). Concurrently with this arrest, Douglas was cited for driving while her license

was revoked (Case No. TR 13-260). (Doc. # 169 at 1-2). The fine and court costs totaled $713.

(Doc. # 168 at 2). On May 28, 2013, Douglas pleaded guilty to attempting to elude. (Id. at 14-

15). The Explanation of Rights Plea of Guilty form she and Judge Atchison signed was Unified

Judicial System Form C-44B. (Id.). On July 9, 2013, Douglas pleaded guilty to driving while her

license was suspended, also on Unified Judicial System Form C-44B. (Doc. # 169 at 5-6). Judge

Atchison placed Douglas on probation and ordered her to pay $135 per month until her financial




                                                      7
             Case 2:15-cv-00493-RDP Document 226 Filed 06/05/19 Page 8 of 22



obligations were met. (Doc. # 168 at 16). Judge Atchison’s Order of Probation also required

Douglas to pay JCS $35 for each month of probation and a $10 registration fee. (Id.).

         On February 24, 2014, JCS Probation Officer Lisha Kidd signed a Petition for

Revocation of Probation on behalf of the City Prosecutor, Richard Shuleva, due to Douglas’s

failure to pay her fines and failure to report to her probation officer on sixteen occasions. (Id. at

26). This petition related to Cases No. TR 13-26, TR 13-95, TR 13-262, and MC-13-39. (Id.). On

March 10, 2014, Magistrate Seale executed an Alias Warrant for Douglas’s arrest using Unified

Judicial System Form MC-11A. (Id. at 17). On April 22, 2014, Judge Atchison signed an Order

of Modification of Probation changing the status from “Hold” to “Warrant.” (Id. at 18).

         On May 13, 2014, Magistrate Seale issued an Order of Release from Jail on Unified

Judicial System Form C-42 for Cases No. MC 13-39, TR 13-260, TR 13-262 and TR 13-95. (Id.

at 19).3 Douglas was released from jail and again placed on probation. (Id.). The day she was

released, Judge Atchison signed an Order of Probation stating that if Douglas missed one

appointment or payment, a warrant was to be issued for her arrest. (Id. at 20). On September 12,

2014, Judge Atchison signed a Successful Termination of Probation for Douglas on Case Nos.

TR 13-260 and TR-13-95. (Doc. # 169 at 36).

         On February 25, 2015, Magistrate Seale issued a Summons to Appear on Unified Judicial

System Form MC-11D for Douglas to appear on March 10, 2015. (Doc. # 168 at 25). On March




         3
            Prior to Douglas’s Columbiana offenses, in 2011, she was ticketed in Shelby County, Alabama for driving
with a suspended license (twice) and for operating a vehicle without a license, Shelby County Case Nos. TR 2011-
11136, TR 2011-12929, TR-2011-12930. (Doc. # 175). In 2012, she was again ticketed in Shelby County, Alabama
for driving with a suspended license, for driving with a revoked license, and for failing to display insurance, Shelby
County Case Nos. TR 2012-512, TR 2012-1933, TR 2012-1934. (Id.). In 2013, Douglas had another Shelby County
traffic citation for driving with a revoked license, Case No. TR -2013-3839. (Id.). On February 13, 2014, Shelby
County issued an Alias Warrant for Douglas’s arrest. (Id. at 31). Douglas was arrested on Shelby County’s warrant
on March 5, 2014. (Id. at 35). Douglas remained in the Shelby County Jail until her May 13, 2014 appearance in the
Columbiana municipal court, to which she was transported from the Shelby County Jail. (Doc. # 172 at 194-95).

                                                              8
        Case 2:15-cv-00493-RDP Document 226 Filed 06/05/19 Page 9 of 22



10, 2015, Judge Atchison signed a Successful Termination of Probation for Douglas on Case No.

MC 13-39. (Id. at 31).

       On April 12, 2013, two days after her arrest for attempting to elude a police officer,

Douglas was again cited for driving while her license was revoked, Case No. TR 13-262. (Doc.

# 170 at 2). On May 14, 2013, Douglas pleaded guilty. (Id. at 3-4). The Explanation of Rights

Plea of Guilty form she signed was Unified Judicial System Form C-44B. (Id.). Fine and court

costs totaled $366. (Id. at 2). Judge Atchison placed Douglas on probation and ordered her to pay

$135 per month until her financial obligations were met. (Doc. # 167 at 5). Judge Atchison’s

Order of Probation also ordered Douglas to pay JCS $35 for each month of probation and a $10

registration fee. (Id.) In Judge Atchison’s May 14, 2013 Order of Probation, Douglas was

ordered to return to court in ninety days to show “completion of compliance.” (Doc. # 170 at 5).

As noted above, after her arrest by Shelby County, Douglas was released from Columbiana

custody on May 13, 2014. (Id. at 7). Also on May 13, 2014, Judge Atchison reinstated Douglas

to probation and ordered her to appear on August 12, 2014 to show compliance. (Id. at 8). On

January 13, 2015, Judge Atchison signed a Successful Termination of Probation for Case. No.

TR 13-262. (Doc. # 170-18).

       E.     Columbiana’s Awareness of JCS Operations in Other Municipal Courts

       On July 11, 2012, Judge Hub Harrington of the Circuit Court of Shelby County,

Alabama, issued an order on a Motion for Preliminary Injunction filed in a case against the Town

of Harpersville, Alabama. (Doc. # 193-13). Judge Harrington found that evidence had been

presented showing, among other things, that certain actions had been impermissibly taken

against certain defendants in the Harpersville municipal court, including incarceration, without

any adjudication on the charges against them. (Id. at 2). Judge Harrington further found that



                                                   9
        Case 2:15-cv-00493-RDP Document 226 Filed 06/05/19 Page 10 of 22



Harpersville defendants were placed on probation for many more than two years, incarcerated for

failing to appear based on an “order” from JCS, and were interminably held in the county work

release program. (Id.). In his July 11, 2012 Order, Judge Harrington set the Harpersville case for

a preliminary injunction hearing and imposed certain conditions on the Harpersville municipal

court. (Id. at 4-5).

        Around this time, in Columbiana, the Mayor, the City Attorney, Judge Atchison, and

Magistrate Seale met to discuss the Harpersville municipal court situation and whether to

continue using JCS’s services. (Docs. # 157-1 at 27-30, # 158 at 61-62, # 158-1 at 189-93). The

group resolved to investigate whether Columbiana needed to change its probation practices

involving JCS. (Docs. # 157-1 at 27-30, # 158 at 61-62, # 158-1 at 189-93). The Mayor

ultimately asked Judge Atchison what he wanted to do, and Judge Atchison recommended that

the municipal court continue using JCS’s services. (Docs. # 157-1 at 27-30, # 158 at 61-62,

# 158-1 at 189-93).

        Eventually, in 2015, the Columbiana municipal court decided to restructure, and the JCS

contract was terminated. (Doc. # 158 at 62-63).

II.     Summary Judgment Standard

        Under Federal Rule of Civil Procedure 56(c), summary judgment is proper “if the

pleadings, depositions, answers to interrogatories, and admissions on file, together with the

affidavits, if any, show that there is no genuine issue as to any material fact and that the moving

party is entitled to judgment as a matter of law.” Celotex Corp. v. Catrett, 477 U.S. 317, 322

(1986). The party asking for summary judgment always bears the initial responsibility of

informing the court of the basis for its motion and identifying those portions of the pleadings or

filings which it believes demonstrate the absence of a genuine issue of material fact. Id. at 323.



                                                    10
        Case 2:15-cv-00493-RDP Document 226 Filed 06/05/19 Page 11 of 22



Once the moving party has met its burden, Rule 56(c) requires the non-moving party to go

beyond the pleadings and -- by pointing to affidavits, or depositions, answers to interrogatories,

and/or admissions on file -- designate specific facts showing that there is a genuine issue for trial.

Id. at 324.

        The substantive law will identify which facts are material and which are irrelevant. See

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986) (“Anderson”). All reasonable doubts

about the facts and all justifiable inferences are resolved in favor of the non-movant. See Allen v.

Bd. of Pub. Educ. For Bibb Cty., 495 F.3d 1306, 1314 (11th Cir. 2007); Fitzpatrick v. City of

Atlanta, 2 F.3d 1112, 1115 (11th Cir. 1993). A dispute is genuine “if the evidence is such that a

reasonable jury could return a verdict for the nonmoving party.” Anderson, 477 U.S. at 248. If

the evidence is merely colorable, or is not significantly probative, summary judgment may be

granted. See id. at 249.

        When faced with a “properly supported motion for summary judgment, [the non-moving

party] must come forward with specific factual evidence, presenting more than mere

allegations.” Gargiulo v. G.M. Sales, Inc., 131 F.3d 995, 999 (11th Cir. 1997). As Anderson

teaches, under Rule 56(c) a plaintiff may not simply rest on her allegations made in the

complaint; instead, as the party bearing the burden of proof at trial, she must come forward with

at least some evidence to support each element essential to her case at trial. See Anderson, 477

U.S. at 252. “[A] party opposing a properly supported motion for summary judgment ‘may not

rest upon the mere allegations or denials of [her] pleading, but . . . must set forth specific facts

showing that there is a genuine issue for trial.’” Id. at 248 (citations omitted).

        Summary judgment is mandated “against a party who fails to make a showing sufficient

to establish the existence of an element essential to that party’s case, and on which that party will



                                                      11
       Case 2:15-cv-00493-RDP Document 226 Filed 06/05/19 Page 12 of 22



bear the burden of proof at trial.” Celotex Corp., 477 U.S. at 322. “Summary judgment may be

granted if the non-moving party’s evidence is merely colorable or is not significantly probative.”

Sawyer v. Sw. Airlines Co., 243 F. Supp. 2d 1257, 1262 (D. Kan. 2003) (citing Anderson, 477

U.S. at 250-51).

       “[A]t the summary judgment stage the judge’s function is not himself to weigh the

evidence and determine the truth of the matter but to determine whether there is a genuine issue

for trial.” Anderson, 477 U.S. at 249. “Essentially, the inquiry is ‘whether the evidence presents a

sufficient disagreement to require submission to the jury or whether it is so one-sided that one

party must prevail as a matter of law.” Sawyer, 243 F. Supp. 2d at 1262 (quoting Anderson, 477

U.S. at 251-52); see also LaRoche v. Denny’s, Inc., 62 F. Supp. 2d 1366, 1371 (S.D. Fla. 1999)

(“The law is clear . . . that suspicion, perception, opinion, and belief cannot be used to defeat a

motion for summary judgment.”).

III.   Analysis

       This case represents another chapter in a series of cases in which Plaintiffs have asserted

claims relating to JCS’s handling of probation services in various municipal courts around the

state of Alabama. (Doc. # 143). Plaintiffs have asserted the following claims against the City

under 42 U.S.C. § 1983:

       Count One - Denial of Due Process;
       Count Three - Violation of the Fourth Amendment;
       Count Five - Violation of the Sixth Amendment;
       Count Seven - Violation of the Eighth Amendment; and
       Count Nine - Denial of Equal Protection.

(Doc. # 143). Plaintiffs also assert a claim under Count Eleven for Declaratory and Injunctive

Relief. (Id.). The case is presently before the court on the Motion for Summary Judgment filed

by the City of Columbiana. (Doc. # 155).



                                                    12
       Case 2:15-cv-00493-RDP Document 226 Filed 06/05/19 Page 13 of 22



       The facts and legal arguments involved in this case are incredibly similar to those made

in another case handled by this court, Ray, et al. v. Judicial Corrections Services Inc. et al., Case

No. 2:12-cv-02819-RDP, which dealt with probation services provided by JCS in the municipal

court in Childersburg, Alabama. Because of the similarities, the court reiterates certain

controlling legal principles which it set forth in Ray:

       It is axiomatic that a municipality, such as the City, is only liable under Section
       1983 when a municipal employee or agent undertakes an action in “execution of a
       government’s policy or custom, whether made by its lawmakers or by those
       whose edicts or acts may fairly be said to represent official policy.” Monell v.
       Dept. of Soc. Servs., 436 U.S. 658, 694 (1978). “[A] municipality cannot be held
       liable under § 1983 on a respondeat superior theory.” Id. at 690. A plaintiff may
       establish the existence of a municipal “policy” by identifying “(1) an officially
       promulgated [municipal] policy or (2) an unofficial custom or practice of the
       [municipality] shown through the repeated acts of a final policymaker.” Grech v.
       Clayton Cnty., Ga., 335 F.3d 1326, 1329 (11th Cir. 2003) (en banc). In both
       instances, a plaintiff must illustrate that the governmental entity has “authority
       and responsibility over the governmental function in issue.” Id. at 1330. “[L]ocal
       governments can never be liable under § 1983 for the acts of those whom the
       local government has no authority to control.” Turquitt v. Jefferson Cnty., Ala.,
       137 F.3d 1285, 1292 (11th Cir. 1998) (en banc). In analyzing whether a
       municipality had control over a policymaker, the court must determine whether
       the municipality controlled the policymaker with regard to the “particular area or
       function” at issue. Grech, 335 F.3d at 1331-32.

       “[S]tate law determines whether a particular official has final policymaking
       authority.” McMillian v. Johnson, 88 F.3d 1573, 1577 (11th Cir. 1996). “[S]tate
       law always should direct [courts] ‘to some official or body that has the
       responsibility for making law or setting policy’” in a given area. Id. (quoting City
       of St. Louis v. Praprotnik, 485 U.S. 112, 125 (1988)). Federal courts must respect
       the allocation of policymaking authority dictated by state law and “may not
       assume that final policymaking authority lies in some entity other than that in
       which state law places it.” Id. (citing Praprotnik, 485 U.S. at 126, 131). In some
       cases, though, multiple officials or governmental bodies can share final
       policymaking authority. Id. at 1578.

       State law also establishes whether a particular official acts as a municipal
       policymaker or a state policymaker with regard to a particular issue. See Turquitt,
       137 F.3d at 1288.

       []



                                                     13
Case 2:15-cv-00493-RDP Document 226 Filed 06/05/19 Page 14 of 22



Under Alabama law, “[t]he judicial power of the state is vested exclusively in a
unified judicial system” that includes “such municipal courts as may be provided
by law.” Ala. Const. of 1901, Art. VI, § 139(a); Ala. Code § 12-1-2. This judicial
power includes jurisdiction over criminal cases. Ala. Code § 12-1-3. The Alabama
Supreme Court has been authorized to create procedural and administrative rules
for municipal courts. Id. § 12-2-19(a). The Alabama Constitution requires
municipal judges to possess law licenses and allows the state legislature to set
other qualifications for municipal judges. Ala. Const. of 1901, Art. VI, § 145.

[]

Municipal court judges may suspend a sentence and place a defendant on
probation for up to two years. Ala. Code § 12-14-13(a). A municipal court judge
also may direct a probation officer or another suitable person to investigate the
probationer. Id. § 12-14-13(b). He or she may impose suitable conditions of
probation, including an obligation for the probationer “[t]o pay the fine and costs
imposed or such portions thereof as the judge may determine and in such
installments as the judge may direct.” Id. § 12-14-13(d)(7).

A municipal court judge may defer a defendant’s obligation to pay court costs or
fines or direct the defendant to pay them in installments. Ala. R. Crim. P.
26.11(d). Fines are to be paid to the municipal court’s clerk unless the municipal
court directs otherwise. Id. 26.11(e). “Incarceration shall not automatically follow
the nonpayment of a fine or restitution. Incarceration should be employed only
after the court has examined the reasons for nonpayment.” Id. 26.11(i)(1).

Alabama municipal courts are authorized to employ magistrates. See Ala. R. Jud.
Admin. 18(I)(B). These magistrates possess the authority to issue arrest warrants,
set bail, receive guilty pleas for certain cases, accept pleas of indigency, and
appoint counsel for indigent defendants, among other duties. Id. 18(I)(B)(2). The
Alabama Rules of Judicial Administration establish qualifications for magistrates
and require them to take an oath of office. Id. 18(II)(A), (IV). The comments in
the Alabama Rules of Judicial Administration clarify that magistrates are judicial
officers authorized by the Alabama Constitution. Ala. R. Jud. Admin. 18,
Comment. See also Ala. Const. of 1901, Art. VI, § 139(b) (permitting the
Alabama legislature to “create judicial officers with authority to issue warrants”).

Alabama municipalities are directed to provide facilities and other adequate
support for Alabama municipal courts.16 Ala. Code § 12-14-2(a); Wilkins v. Dan
Haggerty & Assocs., 672 So. 2d 507, 510 (Ala. 1995). Municipalities have the
power to abolish municipal courts and to reestablish municipal courts. Ala. Code
§§ 12-14-17(a); 12-14-19(a). They are required to pay the municipal court judge’s
salary. Id. § 12-14-33(a). Moreover, they are allowed to provide probation
services, clerks, and magistrates to municipal courts. Id. § 12-14-2(a). The
Alabama Supreme Court has held that municipalities may “contract with a private
firm to aid in the collection of delinquent municipal court fines” to fulfill their
duties to adequately support municipal courts. Wilkins, 672 So. 2d at 510.

                                            14
         Case 2:15-cv-00493-RDP Document 226 Filed 06/05/19 Page 15 of 22



Ray v. Judicial Corr. Servs., Inc., 2017 WL 660842, at *10-11 (N.D. Ala. Feb. 17, 2017).

         A.     The Interaction of Woods and Douglas with the Municipal Court

         Alabama law provides that a municipal court judge may place a defendant on probation

for up to two years. Ala. Code § 12-14-13(a). As discussed above in detail, neither Woods nor

Douglas was on probation for more than two years for any one offense. A municipal judge may

also impose suitable conditions of probation, including an obligation for the probationer “[t]o

pay the fine and costs imposed or such portions thereof as the judge may determine and in such

installments as the judge may direct.” Id. § 12-14-13(d)(7). Judge Atchison signed the Orders of

Probation which obligated Woods and Douglas to pay fines and costs, as well as to pay JCS $35

for each month of probation and a $10 registration fee. (Docs. # 165 at 5, # 168 at 16, # 170 at

5). Alabama law also provides that a municipal court judge may direct a probation officer or

another suitable person to investigate the probationer. Id. § 12-14-13(b). In this regard, Judge

Atchison’s Orders placed Woods and Douglas on probation and ordered compliance with the

terms of their probation, which included “mak[ing] a full and truthful report to [their] Probation

Officer” and paying JCS $35 for each month on probation. (Docs. # 165 at 5, # 168 at 16, # 170

at 5).

         B.     The Municipal Court Judge Did Not Act as a City Policymaker

         Plaintiffs contend that their constitutional rights were violated in their interactions with

the municipal court and JCS. Plaintiffs argue that a jury could conclude that the actions taken by

Judge Atchison and JCS are attributable to the City. However, the issue of who may be a

responsible policymaker for a particular policy is a question of state law, not a question of fact

for a jury to decide. Praprotnik, 485 U.S. at 124. As the court held in Ray, “Alabama law

demonstrates that the policymaker responsible for the policies that led to JCS’s conduct against



                                                     15
       Case 2:15-cv-00493-RDP Document 226 Filed 06/05/19 Page 16 of 22



Plaintiffs was the Municipal Court’s judge, Judge [Atchison]. State law granted Judge [Atchison]

the authority to sentence defendants to probation, to set probation conditions, to impose fines on

defendants, and to establish payment plans for defendants when they could not immediately pay

the fines imposed.” Ray, 2017 WL 660842, at *12 (citing Ala. Code § 12-14-13(a), (d); Ala. R.

Crim. P. 26.11(d)). “Likewise, Judge [Atchison] was responsible for determining an appropriate

punishment when an individual failed to pay fines imposed on him or her.” Id. (citing Ala. R.

Crim. P. 26.11(i)(1)).

       Alabama law delegates judicial authority, including municipal court authority, to the state

judicial system:

       [T]he Alabama Constitution[] designates municipal courts as courts under the
       unified judicial system. Ala. Co[n]st. of 1901, Art. VI, § 139(a). See Turquitt, 137
       F.3d at 1288 (relying, in the first instance, on the Alabama Constitution’s
       designation of a sheriff as a state official). The Alabama Supreme Court, a state
       agency, held the authority to create procedural and administrative rules that
       regulated the Municipal Court. Ala. Code § 12-2-19(a). See Turquitt, 137 F.3d at
       1289 (relying on a state agency’s control of rules regarding the policy at issue as
       evidence that the sheriff had acted as a state policymaker). And it is state law that
       provides the Municipal Court authority to impose probation on defendants, not the
       City’s municipal code. See Ala. Code § 12-14-13(a), (d).

Ray, 2017 WL 660842, at *13 (footnote omitted). Thus, the state controls the operation of the

court system in Alabama, including the municipal court system. “[L]ocal governments [such as

municipalities] can never be liable under § 1983 for the acts of those [officials] whom the local

government has no authority to control.” Turquitt, 137 F.3d at 1292. In Turquitt, the en banc

Eleventh Circuit emphasized the importance of control by characterizing the appropriate

question as “which government body, under state law, had direct control over how the [entity at

issue] fulfilled [the duty at issue].” Turquitt, 137 F.3d at 1292.

       Although Alabama law imposed an obligation on the City to pay for probation services

for the municipal court, see Ala. Code § 12-14-2(a), it did not grant the City any control over the


                                                      16
       Case 2:15-cv-00493-RDP Document 226 Filed 06/05/19 Page 17 of 22



municipal court’s judicial functions. See Ala. Const. of 1901, Art. VI, § 139(a) (placing the

state’s judicial power in the hands of the unified judiciary branch). Alabama law provides that it

is the state that has direct control over the municipal courts. Therefore, under binding precedent,

the City simply cannot be liable under § 1983 for actions taken by the municipal court. Turquitt,

137 F.3d at 1292; see also McMillian, 88 F.3d at 1577 (“Federal courts ‘may not assume that

final policymaking authority lies in some entity other than that in which state law places it.”

(citing Praprotnik, 485 U.S. at 126, 131)).

       C.      Plaintiffs Have Not Shown They Were Injured by a City Policy or Custom

       Plaintiffs contend that certain facts in this case distinguish it from Ray. Plaintiffs first

urge that “[b]y virtue of the contract, the City and JCS combined and conspired in a joint effort

to extort persons unable to pay fines and court costs.” (Doc. # 191 at 38). As in Ray, Plaintiffs

argue that the alleged constitutional violations here were the result of the governmental custom

or practice because the City “embraced the JCS system in fine collection for almost ten years.”

(Id. at 39). However, they also argue the JCS probation system became a City custom or policy

because the City continued to use JCS in the municipal court after the Mayor and other City

officials became aware of the alleged constitutional violations in other municipalities. Plaintiffs

assert that, “unlike determining who is a policymaker, the question of whether there is a

municipal policy or custom for purposes of § 1983 is ‘an ad hoc determination made on a case-

by-case basis.’” (Id. at 36 (quoting Sword & Shield: A Practical Approach to Section 1983

Litigation 4th Edition, p. 292).

       In granting summary judgment to Childersburg in Ray, the court specifically noted that

Plaintiffs had “not presented Rule 56 evidence indicating that a final policymaker for the

municipality knew of the alleged unconstitutional conduct by JCS or the Municipal Court when



                                                    17
        Case 2:15-cv-00493-RDP Document 226 Filed 06/05/19 Page 18 of 22



permitting the JCS-City Contract to be renewed or when renewing Judge Ward’s contract with

the City.” Ray, 2017 WL 660842, at *16. Here, Plaintiffs have presented Rule 56 evidence that

the City knew of Judge Harrington’s Order regarding the Harpersville municipal court and of

Woods’s allegations of unconstitutional conduct in the “To Prison for Poverty” video, yet

decided to continue using JCS’s services. (Doc. # 191 at 58). They argue that, by continuing to

use JCS with full knowledge of these matters, City officials essentially ratified the JCS system as

a City policy or custom. And, under these circumstances, they argue, there is a sufficient basis to

attribute the continuation of those alleged unconstitutional customs or practices to the City. The

court disagrees.

        The Rule 56 evidence does not support the conclusion that the constitutional

improprieties which allegedly infected the Harpersville probation system were present in

Columbiana. For example, the following facts distinguish the Columbiana municipal court

probation system from the Harpersville system condemned by Judge Harrington:

        1.     In the Columbiana municipal court, the Rule 56 evidence shows that there was an

adjudication or plea on the charges against Woods and Douglas (guilty pleas) before any

sentence or probation was imposed. (Compare Doc. # 193-13 at & 1, with Docs. # 165 through

170).

        2.     In the Columbiana municipal court, the Rule 56 evidence shows that if an

offender could pay the ordered fine within seven days (as opposed to one day in Harpersville),

JCS was not involved in their probation and payments could be made through Magistrate Seale’s

office. (Compare Doc. # 193-13 at & 2, with Doc. # 160 at 31, 59-60).

        3.     In the Columbiana municipal court, the Rule 56 evidence shows that defendants

were not incarcerated without an order or warrant from Judge Atchison, and they were not



                                                    18
        Case 2:15-cv-00493-RDP Document 226 Filed 06/05/19 Page 19 of 22



incarcerated for a failure to pay fines. (Compare Doc. # 193-13 at & 3, with Docs. # 165 through

170).

        4.     In the Columbiana municipal court, there is evidence that a warrant was issued

for Douglas’s arrest, but it was only issued after a Petition for Revocation of Probation on behalf

of the City Prosecutor, Richard Shuleva, was filed due to Douglas’s failure to pay her fines and

failure to report to her probation officer on sixteen occasions relating to four separate offenses.

(Doc. # 168 at 26). No orders were issued by JCS. (Compare Doc. # 193-13 at & 4, with Doc. #

168 at 26).

        5.     In the Columbiana municipal court, the Rule 56 record contains no evidence that

new criminal charges were imposed for contempt of court. (Compare Doc. # 193-13 at & 5, with

Docs. # 165 through 170).

        6.     In the Columbiana municipal court, the Rule 56 record contains no evidence that

any defendant was placed on probation for any offense for more than two years. (Compare Doc.

# 193-13 at & 7, with Docs. # 165 through 170).

        The undisputed record evidence simply does not show that Columbiana’s municipal court

system was run in a manner similar to that found by Judge Harrington to exist in Harpersville.

Therefore, evidence that Columbiana continued to use JCS’s probation services after becoming

aware of the alleged constitutional violations in Harpersville is not a sufficient justification to

hold the City of Columbiana responsible for the actions of the Columbiana municipal court by

way of a City custom or policy.

        Alabama state law, including its Constitution, provides that the state controls the

operation of the court system in Alabama, including the municipal courts. The City of

Columbiana, therefore, “can never be liable under § 1983 for the acts of [the court].” Turquitt,



                                                    19
       Case 2:15-cv-00493-RDP Document 226 Filed 06/05/19 Page 20 of 22



137 F.3d at 1292. Plaintiffs have not presented evidence justifying the application of any

exception to this rule. Therefore, the City is entitled to summary judgment on Plaintiff’s claims

under § 1983 premised on conduct occurring in the municipal court.

       D.      Plaintiffs Have Not Asserted Conspiracy Claims Against the City

       In their Opposition to the City’s Motion for Summary Judgment, Plaintiffs included a

section arguing that the City conspired with JCS to violate Plaintiffs’ constitutional rights. (Doc.

#191 at 53-60). However, none of the conspiracy claims in Plaintiffs’ Third Amended Complaint

are asserted against the City. (See Doc. # 143 at 38, 49, 54, 59, 65). Each of those claims is

asserted against JCS, CHC, and CCS based on their independent acts and “in conspiracy with

Columbiana’s Municipal Court.” (See Doc. # 143 at 38, 49, 54, 59, 65) (emphasis added). As

discussed above, the municipal court’s actions are not attributable to the City. Therefore,

Plaintiffs have not asserted conspiracy claims against the City.

       Even if Plaintiffs had asserted a conspiracy claim against the City, they have failed to

present record evidence supporting the essential elements of such a claim. To establish a

conspiracy claim under § 1983 against a governmental entity, a plaintiff must allege three

elements: “(1) a violation of [his] federal rights; (2) an agreement among the Defendants to

violate such a right; and (3) an [underlying] actionable wrong.” Williams v. Fulton County

School District, 181 F. Supp. 3d 1089, 1148 (N.D. Ga.2016). A “[c]onspiracy requires an

agreement—and in particular an agreement to do an unlawful act—between or among two or

more separate persons.” Ziglar v. Abbasi, 137 S. Ct. 1843, 1867 (2017). Plaintiffs have presented

no record evidence showing that policymakers for the City and JCS “reached an understanding”

to deny Plaintiffs their constitutional rights. Therefore, and in any event, even if Plaintiffs had




                                                    20
       Case 2:15-cv-00493-RDP Document 226 Filed 06/05/19 Page 21 of 22



asserted a conspiracy claim against the City, summary judgment would still be appropriate as to

that claim.

       E.      Plaintiffs’ Claims for Declaratory and Injunctive Relief

       In Count Eleven of the Third Amended Complaint, Plaintiffs assert a claim for

declaratory and injunctive relief. At the outset, it is important to note that “injunctive relief”

cannot be pleaded as a separate claim because it is not a cause of action but a form of relief. In re

Managed Care Litig., 2009 WL 7848517, at *7 (S.D. Fla. Mar. 27, 2009) (citing Hames v. City

of Miami, 479 F. Supp. 2d 1276, 1280 n. 3 (S.D. Fla. 2007). Therefore, the court interprets Count

Eleven as one for declaratory judgment that seeks an equitable remedy of injunctive relief.

       Plaintiffs summarize their claim as follows: “A real controversy exists between the

parties concerning the validity of the JCS[] attempt with Columbiana to bind its municipal court

and the legality of the actions taken in contracting with JCS, such that declaratory relief is

appropriate.” (Doc. # 143 at & 328). Among other claims for relief, Plaintiffs seek a declaration

that the contract between the City and JCS is void, and that certain aspects of the contract are

illegal. (Doc. # 143 at && 329-347).

       However, Plaintiffs currently lack standing to challenge the validity of that contract

because it is undisputed that the City terminated its agreement with JCS in 2015. (Doc. # 157-1

at 58). Plaintiffs have presented no evidence that there is “a reasonable expectation that the

injury they have suffered will continue or will be repeated in the future.” Malowney v. Fed.

Collection Deposit Grp., 193 F.3d 1342, 1347 (11th Cir. 1999). It is undisputed that the JCS

contract has been terminated and that JCS is no longer operating in Alabama. The mere

possibility of similar conduct by the City does not present a controversy that the court may

resolve through a declaratory judgment. See Malowney, 193 F.3d at 1348; see also Ray, 2017



                                                     21
       Case 2:15-cv-00493-RDP Document 226 Filed 06/05/19 Page 22 of 22



WL 660842 at * 19-20. For these reasons, the City is entitled to summary judgment on Plaintiffs’

claims seeking injunctive relief, and Plaintiffs’ request for a declaratory judgment is due to be

dismissed for lack of standing.

IV.    Conclusion

       For all of the foregoing reasons, the City is entitled to judgment as a matter of law on

Plaintiffs’ claims seeking to hold the City liable for the municipal court’s alleged failure to

comply with Alabama law and the U.S. Constitution when conducting judicial functions. The

City of Columbiana’s Motion for Summary Judgment is due to be granted. A separate order will

be entered.

       DONE and ORDERED this June 5, 2019.



                                            _________________________________
                                            R. DAVID PROCTOR
                                            UNITED STATES DISTRICT JUDGE




                                                   22
